    Case 2:17-cv-00038-GJQ-TPG ECF No. 50 filed 10/17/18 PageID.313 Page 1 of 4

                                      UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF MICHIGAN
                                           NORTHERN DIVISION


ERIC DEXTER WELCH,

              Plaintiff,                               Case No. 2:17−cv−00038−GJQ−TPG

    vs.                                                Hon. Gordon J. Quist

MARK L. DOBIAS,

              Defendant.
                                                   /


                 ORDER SETTING TELEPHONE RULE 16 SCHEDULING CONFERENCE



A scheduling conference pursuant to FED. R. CIV. P. 16 is hereby scheduled for November 28, 2018 at
10:00 AM before Magistrate Judge Timothy P. Greeley by telephone. Counsel for defendant shall
initiate the telephone conference. Judge's chambers can be reached at (906) 226−3854.

Matters to be Considered at the Scheduling Conference: The purpose of the scheduling conference
is to review the joint status report and to explore methods of expediting the disposition of the action by:
establishing early and ongoing case management; discouraging wasteful pretrial activities; establishing
limitations on discovery; facilitating the settlement of a case; establishing an early, firm trial date; and
improving the quality of the trial through thorough preparation.

Presumptive Limitations:     In accordance with Rules 26, 30 and 33 of the Federal Rules of Civil
Procedure, the Court requires the following in the absence of good cause for deviation:

          Rule 26(a)(1) disclosures will be required early in the case, with a continuing duty to
          supplement;

          Rule 26(a)(2) expert witness reports will be required before the close of discovery;

          Interrogatories will be limited to 25 per side and depositions will be limited to 10 per side, each
          of no more than 7 hours duration.

If disclosures are required under Rule 26, the Court may preclude the calling of witnesses or the
presentation of evidence as a sanction for failure to make timely and complete disclosures. See
FED. R. CIV. P. 37(c)(1).

The Court normally allows six months for discovery, but will consider a shorter or longer period at the
scheduling conference.

Meeting of Parties and Preparation of Joint Status Report: At least seven days before the Rule 16
conference, counsel (or unrepresented parties) shall meet to discuss the following: the nature and
basis of the parties' claims and defenses, the possibilities for a prompt settlement or resolution of the
case, the formulation of a discovery plan, and the other topics listed below. Plaintiff shall be
responsible for scheduling the meeting, which may be conducted in person or by telephone. After the
meeting, the parties shall prepare a joint status report which must be e−filed no later than November
26, 2018. The following form shall be used:

          A Rule 16 Scheduling Conference is scheduled for                 , before Hon. Timothy P.
          Greeley. Appearing for the parties as counsel will be:
Case 2:17-cv-00038-GJQ-TPG ECF No. 50 filed 10/17/18 PageID.314 Page 2 of 4

          [List the counsel who will attend the scheduling conference. Counsel for all
          parties must attend. Parties not represented by counsel must appear in person.]

  1.   Jurisdiction:   The basis for the Court's jurisdiction is:

          [Set forth a statement of the basis for the Court's jurisdiction.          Indicate all
          objections.]

  2. Jury or Non−Jury:        This case is to be tried [before a jury] [by the Court as a trier of
  law and fact].

  3. Judicial Availability:      The parties [agree] [do not agree] to have a United States
  Magistrate Judge conduct any and all further proceedings in the case, including trial,
  and to order the entry of final judgment. [NOTE TO COUNSEL: If the parties consent
  to the jurisdiction of a magistrate judge pursuant to 28 U.S.C. § 636(c) and so state in
  the joint status report, an Order of Reference will be issued transferring the matter to the
  magistrate judge and allowing appeals to be taken to the United States Court of Appeals
  for the Sixth Circuit, in accordance with 28 U.S.C. § 636(c) and FED. R. CIV. P. 73(c).]

  4.   Statement of the Case:      This case involves:

          [Set forth a brief description of the claims and defenses, sufficient to acquaint the
          Court with the general nature of the case, as well as the factual and legal issues,
          including complexity of each requiring judicial resolution. Are there areas
          which are not open to dispute? Is there agreement on non−contested
          items?]

  5. Prospects of Settlement:       The status of settlement negotiations is:

          [Indicate persons present during negotiations, progress toward settlement, and
          issues that are obstacles to settlement.] [State plaintiff's (nonbinding) range of
          damages.]

  6. Pendent State Claims:       This case [does][does not] include pendent state claims.

          [If pendent state claims are presented, include a statement describing such
          claims, and all objections to the Court retaining the pendent claims.]

  7. Joinder of Parties and Amendment of Pleadings:               The parties expect to file all
  motions for joinder of parties to this action and to file all motions to amend the pleadings
  by ________.

  8. Disclosures and Exchanges:

          (a) FED. R. CIV. P. 26(a)(1) requires initial disclosures unless the Court orders
          otherwise. The parties propose the following schedule for Rule 26(a)(1)
          disclosures:

                  [Set forth a proposed schedule for initial disclosures.]

          (b) The plaintiff expects to be able to furnish the names of plaintiff's expert
          witness(es) by _____. Defendant expects to be able to furnish the names of
          defendant's expert witness(es) by _____.

          (c) It [would] [would not] be advisable in this case to exchange written expert
          witness reports as contemplated by F ED . R. C IV . P. 26(a)(2). Reports, if
          required, should be exchanged according to the following schedule:

                  [Set forth the proposed schedule for exchange of expert witness reports.]

          (d) The parties have agreed to make available the following documents without
          the need of a formal request for production:
Case 2:17-cv-00038-GJQ-TPG ECF No. 50 filed 10/17/18 PageID.315 Page 3 of 4

                 From plaintiff to defendant by _____
                 [Describe documents]

                 From defendant to plaintiff by _____
                 [Describe documents]

                                        − OR −

                 The parties are unable to agree on voluntary production at this time.

  9. Discovery: The parties believe that all discovery proceedings can be completed by
  _____. The parties recommend the following discovery plan:

         [As required by F ED . R. C IV . P. 26(f), set forth proposed plan of discovery,
         including subjects on which discovery may be needed and whether discovery
         should be conducted in phases or be limited to or focused on certain issues. Also
         set forth any recommendations as to limitations on discovery. Limitations may
         include the number of depositions, interrogatories, and requests for admissions,
         or limitations on the scope of discovery pending resolution of dispositive motions
         or alternative dispute resolution proceedings. State whether the presumptive
         time limits for depositions (one day of seven hours) should be modified in this
         case. FED. R. CIV. P. 30(d)(1).]

  10. Disclosure or Discovery of Electronically Stored Information: The parties have
  discussed the production of electronically stored information and suggest that such
  information be handled as follows:

         [State whether any party has electronically stored information that will be subject
         to disclosure or discovery and set forth any proposals concerning the form of
         production.]

  11. Assertion of Claims of Privilege or Work−Product Immunity After Production:

         [State whether the parties have agreed on a procedure to address claims of
         privilege or work product immunity for items inadvertently produced during
         discovery.]

  12. Motions: The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the
  moving party to ascertain whether the motion will be opposed, and in the case of all
  nondispositive motions, counsel or pro se parties involved in the dispute shall confer in a
  good−faith effort to resolve the dispute. In addition, all nondispositive motions shall be
  accompanied by a separately filed certificate.

  The following dispositive motions are contemplated by each party:

         [Set forth all contemplated dispositive motions.]

  The parties anticipate that all dispositive motions will be filed by _____.

  13. Alternative Dispute Resolution: In the interest of conserving judicial resources,
  the parties acknowledge that the Court will require the parties to participate in some
  form of Alternative Dispute Resolution.

  Indicate what discovery, if any, is needed prior to conducting alternative dispute
  resolution in order to make alternative dispute resolution most effective. Indicate a
  preferred time frame for conducting alternative dispute resolution.

  The parties recommend that this case be submitted to the following method(s) of
  alternative dispute resolution:

         [Set forth each party's position with respect to the preferred method, if any, of
         alternative dispute resolution. Methods used in this district include, but are not
         limited to, voluntary facilitative mediation (W.D. Mich. LCivR 16.3), early neutral
    Case 2:17-cv-00038-GJQ-TPG ECF No. 50 filed 10/17/18 PageID.316 Page 4 of 4

               evaluation (W.D. Mich. LCivR 16.4), and case evaluation (MCR 2.403 and W.D.
               Mich. LCivR 16.5).]

               For the local rules regarding all forms of ADR used in this district and for lists of
               mediators, case evaluators and arbitrators, see the Court's website at
               www.miwd.uscourts.gov.

       14. Length of Trial: Counsel estimate the trial will last approximately _____ days
       total, allocated as follows: _____ days for plaintiff's case, _____ days for defendant's
       case, _____ days for other parties.

       15. Electronic Document Filing System: Counsel are reminded that Local Civil Rule
       5.7(a) requires attorneys to file and serve all documents electronically, by means of the
       Court's CM/ECF system, unless the attorney has been specifically exempted by the
       Court for cause or a particular document is not eligible for electronic filing under the rule.
       The Court expects all counsel to abide by the requirements of this rule. Pro se parties
       (litigants representing themselves without the assistance of a lawyer) must submit their
       documents to the Clerk on paper, in a form complying with the requirements of the local
       rules. Counsel opposing a pro se party must file documents electronically but serve pro
       se parties with paper documents in the traditional manner.

       16. Other: Set forth any special characteristics that may warrant extended discovery,
       accelerated disposition by motion, or other factors relevant to the case.



The joint status report shall be approved and signed by all counsel of record and by any party who
represents him or herself. The report shall be filed by means of the Court's CM/ECF system.

Designation of Magistrate Judge: The undersigned has been designated to assist in the processing of
this case, and is invested by the powers conferred under 28 U.S.C. § 636(b)(1)(A).

Case Manager: Any question concerning this Order or the scheduling conference should be directed
to C. A. Moore, Courtroom Deputy to United States Magistrate Judge Timothy P. Greeley, (906)
226−3854.

Sanctions: The failure of a party to participate in submission of the joint status report or to appear or
participate in the Rule 16 scheduling conference may result in the imposition of any of the sanctions
allowed by Rule 16(f), including dismissal of the action or entry of default, as appropriate.

IT IS SO ORDERED.



Dated: October 17, 2018                           /s/ Timothy P. Greeley
                                                TIMOTHY P. GREELEY
                                                U.S. Magistrate Judge
